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                      EXHIBIT A
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;^JW @% =X[RUUX !,-+ (#$ 0)$% YNWMRWP"
8JK[RNU 7% CXUNMJM
5JWRNU @^UNLRX$3XNT
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CE<<:F2> <<@
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GJ\QRWP]XW# 5%4% (&&&+
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7JL\RVRUN0 !(&(" +).$.'&&
6VJRU0 S^JWVX[RUUX1Z^RWWNVJW^NU%LXV
6VJRU0 PJK[RNU\XUNMJM1Z^RWWNVJW^NU%LXV
6VJRU0 MJWRNUY^UNLRXKXNT1Z^RWWNVJW^NU%LXV

6[RL GRW\]XW !,-+ (#$ 0)$% YNWMRWP"             CLX]] 4% CQNUUNa
AE:>> 6=2>E6< EBAE92BD                          CJVJW]QJ 8RUUN\YRN !,-+ (#$ 0)$% YNWMRWP"
CE<<:F2># <<@                                   AE:>> 6=2>E6< EBAE92BD
.,+ CX^]Q 7RP^N[XJ C][NN]# '&]Q 7UXX[           CE<<:F2> <<@
<X\ 2WPNUN\# 4JUROX[WRJ /&&'-$(+*)              +' =JMR\XW 2_NW^N# ((WM 7UXX[
DNUNYQXWN0 !(')" **)$)&&&                       >N` HX[T# >N` HX[T '&&'&
7JL\RVRUN0 !(')" **)$)'&&                       DNUNYQXWN0 !('(" .*/$-&&&
6VJRU0 N[RL`RW\]XW1Z^RWWNVJW^NU%LXV             7JL\RVRUN0 !('(" .*/$-'&&
                                                6VJRU0 \LX]]\QNUUNa1Z^RWWNVJW^NU%LXV
                                                6VJRU0 \JVJW]QJPRUUN\YRN1Z^RWWNVJW^NU%LXV

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5NK]X[ RW J 7X[NRPW @[XLNNMRWP%

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56 4%F%

5NK]X[ RW J 7X[NRPW @[XLNNMRWP%
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                      ALFONSO MARTÍN LÓPEZ MELIH
                          CURRICULUM VITAE



ALFONSO M. LÓPEZ MELIH was born in Mexico City on June 4, 1965. He is a
bankruptcy practitioner with over 25 years of experience representing debtors and
creditors in some of the most high profile and complex restructuring matters. He is
widely recognized as a leading lawyer in bankruptcy, restructuring, antitrust,
arbitration, administrative, commercial and civil litigation in Mexico. Spanish is his
native language and he is fluent in English.

Mr. López Melih received his Law degree in 1990 from the Universidad Nacional
Autónoma de México (UNAM) and since that time has practiced as a litigator
specializing in Mexican Civil, Commercial and Administrative Law. From 1989 to
2007, Mr. Lopez Melih was partner of Quijano, Cortina, López y de la Torre, where
he began his career in 1984, and where he worked on numerous civil, commercial
and administrative cases involving Mexican and foreign entities.

In 2007, he founded the law firm López Melih y Estrada, S.C., where he is in charge
aX fZW X[d_ue U[h[^( Ua__WdU[S^ and administrative practice groups, working on
several Mexican and foreign cases.

Mr. López Melih has successfully represented different companies that were subject
to the largest business reorganization proceedings that have taken place in Mexico
since the new Business Reorganization Law took effect.

He has been recognized as a specialist in Mexican bankruptcy law by the United
States Bankruptcy Court for the Southern District of New York and the United States
Bankruptcy Court for the Northern District of Texas, Dallas Division.

He has lectured in commercial arbitration matters, bankruptcies, among others, at:
the Institute of Legal Research of the UNAM, the Federal Institute of Insolvency
Specialists (IFECOM), the Mexican Bar Association, The Council Federal Judiciary,
the Supreme Court of Justice of the Nation, the Mexican Association of International
and Comparative Law, A.C., the U.S. - Mexico Bar Association, the American
Chamber of Commerce, Ernst & Young (Mexico) and Latin Lawyer.
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He has been member of the following associations: Mexican Bar Association, B.C.
(Secretary of the Committee on Civil Law, 1990 - 1991), National Association of
Business Lawyers, AC (Coordinator of the Civil Law Committee, 2005 - 2006),
Member of the Litigation Council of the newspaper Reforma (2012-2013).

He is also a Ranked Lawyer in the 2018 edition of Chambers and Partners in Dispute
Resolution: Litigation and Bankruptcy/Restructuring.

Mr. López Melih has lectured extensively on Bankruptcy and Business
Reorganization Law, as well as on Arbitration and Civil and Access to Public
Information Law. Some of his lectures are:

       s=XWUfae VW ^S eW`fW`U[S VW ;a`Ugdea EWdUS`f[^t %LZW WXXWUfe aX S Tge[`Wee
       reorganization declaration/judgment). Conference at the Instituto de
       Investigaciones Jurídicas de la Universidad Nacional Autónoma de México
       (2001).

       sLdS`ebSdW`U[S W` ^S A_bSdf[U[p` VW Bgef[U[St %LdS`ebSdW`Uk [` fZW
       administration of justice). Conference sponsored by the newspaper
       Reforma, the Instituto de Investigaciones Jurídicas de la UNAM anf the Law
       Department of UNAM (2003)

       s=^ ;a`Ugdea EWdUS`f[^t %LZW :ge[`Wee JWadYS`[lSf[a`& ;a`XWdW`UW
       sponsored by the Barra Mexicana Colegio de Abogados, A.C., the Instituto
       Federal de Especialistas en Concursos Mercantiles and the Suprema Corte
       de Justicia de la Nación.

       sDS <WXW`eS VW ^S =_bdWeS XgWdS VW ^ae fd[Tg`S^We6 EWV[ae S^fWd`Sf[hae bSdS
       ^S ea^gU[p` VW Ua`fdahWde[Set %<WXW`V[`Y UadbadSf[a`e agfe[VW aX Uagdf6
       Alternate means for dispute resolution) Conference sponsored by the
       American Chamber of Commerce.

       s=^ SdT[fdS\Wt %;a__WdU[S^ SdT[fdSf[a`& ;a`XWdW`UW eba`eadWV Tk fZW
       Asociación Mexicana de Derecho Internacional Privado y Comparado, A.C.

       sAFLJG<M;LAGF LG E=PA;G :9FCJMHL;Q 9F< KGE= ;JGKK
       BORD=J AFKGDN=F;Q AKKM=Kt ;a`XWdW`UW eba`eadWV Tk fZW MK-Mexico
       Bar Association (2008).
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        s9 V[Wl Soae VW^ JmY[_W` VW A`ea^hW`U[S ;a_WdU[S^ W` EWj[Uat %-, QWSde
        after the commercial insolvency regime in Mexico) Conference sponsored by
        Ernst & Young Mexico (2010).

        sLZW EWj[US` :S`]dgbfUk HdaUWee( 9` GhWdh[Wi aX fZW EWj[US` :ge[`Wee
        JWadYS`[lSf[a` 9Uft ;a`XWdW`UW eba`eadWV Tk fZW MK-Mexico Bar
        Association (2010).

        sHdSUf[US^ ;a`e[VWdSf[a` aX S` Ggf-of-Uagdf JWefdgUfgd[`Y [` EWj[Uat
        U.S./Mexico Restructuring Symposium, sponsored by the American
        Bankruptcy Institute.



PROFESSIONAL ACTIVITIES:

Ed* DabWl EW^[Zue experience in litigation matters related to commercial and
financial law derive from his representation and/or participation, in the context of
civil and commercial litigation and/or the financial restructuring of several
corporations, among them:

        Cervecería Moctezuma, S.A. de C.V. (Bankruptcy proceeding)

        Eaton Manufacturera, S.A. de C.V. (Bankruptcy proceeding)

        Grupo Tribasa, S.A. de C.V. (Business Reorganization Proceeding)

        Grupo K-2, S.A. de C.V. (Business Reorganization Proceeding)

        Satélites Mexicanos, S.A. de C.V. (Business Reorganization Proceeding)

        Controladora Comercial Mexicana, S.A. de C.V. (Business Reorganization
        Proceeding, representing Costco Wholesale)

        Metrofinanciera, S.A. de C.V. Business Reorganization Proceeding)

        Televisora del Valle de México, S.A. de C.V. (Business Reorganization
        Proceeding)
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       Transportación Marítima Mexicana, S.A. de C.V. (Restructuring)

       Sarens, NV (Business Reorganization Proceeding)

       The ad hoc group of note holders of Vitro, S.A.B. de C.V.

       Mexicana de Aviación, S.A Business Reorganization Proceeding).

       San Luis Co Inter (Business Reorganization Proceeding.



In addition, he has represented other clients in the context of commercial,
administrative, antitrust or civil disputes, among which are included:

       América Móvil, S.A.B. de C.V.

       Radiomóvil Dipsa, S.A. de C.V. (Telcel)

       Teléfonos de México, S.A.B. de C.V.

       The Bank of New York, N.A.

       Deutsche Bank AG

       Comisión Federal de Electricidad

       ING Bank, S.A.

       Altana AG

       Parmalat Canada Inc.

       Ericsson Telecom, S.A. de C.V.

       Tenaris Tamsa, S.A.

       Tubos y Aceros de México, S.A. de C.V.
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        Operadora Comercial de Desarrollo, S.A. de C.V. (Cinépolis)

        Grupo Modelo, S.A.B. de C.V.

        Petróleos Mexicanos

        UBS Capital Americas LLC

        ING (México), S.A. de C.V.

        Banco Nacional de México, S.A.

        GE Capital CEF México, S. de R. L.

Finally, he has previously been qualified as an expert and given expert testimony on
Mexican Law, among others, in the following foreign cases:

United States Bankruptcy Court for the Southern District of New York:
       In re Garcia Avila: Case No. 03-14025 (SMB) (Temporary Restraining
       Order);
       Satélites Mexicanos, S.A. de C.V.: Case No. 05-13862 (RDD);
       Grupo Tribasa, S.A., Triturados Basálticos y Derivados, S.A. de C.V.: Case
       03-14025 (Temporary Restraining Order);
       Compañía Mexicana de Aviación, S.A. de C.V.: Case 10-14182 (MG).

The United States Bankruptcy Court for the Northern District of Texas, Dallas
Division: In re Vitro, S.A.B. de C.V.: case 11-33335 BANKR. N.D. Texas 2012.

The Circuit Court of the Eleventh Judicial Circuit, in and for Miami-Dade County,
Florida: In re Safilo USA, INC.: Case 08-64433 CA 09.

And the High Court of Justice r Business and Property Courts of England and Wales:
In re Exportadora de Sal, S.A. de C.V.: CL-2017-000280.
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CONTACT INFORMATION:

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